               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF MICHIGAN


 TIMOTHY BOZUNG, individually and on
 behalf of all others similarly situated,       Case No. ______________


                    Plaintiff,                  CLASS ACTION COMPLAINT
                                                JURY TRIAL DEMANDED
       v.

 CHRISTIANBOOK, LLC,


                    Defendant.

      Plaintiff Timothy Bozung (“Plaintiff”), individually and on behalf of all others

similarly situated, by and through his attorneys, makes the following allegations

pursuant to the investigation of his counsel and based upon information and belief,

except as to allegations specifically pertaining to himself and his counsel, which are

based on personal knowledge.

                                 INTRODUCTION

      1.      Defendant Christianbook, LLC (“Christianbook”) rented, exchanged,

and/or otherwise disclosed detailed information about Plaintiff’s The Drop Box

video purchase to data aggregators, data appenders, data cooperatives, and list

brokers, among others, which in turn disclosed his information to aggressive

advertisers, political organizations, and non-profit companies. As a result, Plaintiff

has received a barrage of unwanted junk mail. By renting, exchanging, and/or
otherwise disclosing Plaintiff’s Private Reading, Listening, and Viewing

Information (defined below) during the relevant pre-July 30, 2016 time period1,

Christianbook violated Michigan’s Preservation of Personal Privacy Act, H.B. 5331,

84th Leg. Reg. Sess., P.A. No. 378, §§ 1-4 (Mich. 1988), id. § 5, added by H.B.

4694, 85th Leg. Reg. Sess., P.A. No. 206, § 1 (Mich. 1989) (the “PPPA”).2

      2.      Documented evidence confirms these facts. For example, a list broker,

NextMark, Inc. (“NextMark”), offers to provide renters access to the mailing list

titled “Christianbook Catalog Buyers Mailing List”, which contains the Private

Reading, Listening, and Viewing Information of 3,264,000 of Christianbook’s U.S.

customers at a base price of “$95.00/M [per thousand],” (i.e., 9.5 cents apiece), as

shown in the screenshot below:




1
      The statutory period for this action is six years. See M.C.L. § 600.5813.

2
       In May 2016, the Michigan legislature amended the PPPA. See S.B. 490, 98th
Leg., Reg. Sess., P.A. No. 92 (Mich. 2016) (codified at M.C.L. § 445.1711, et seq.).
The May 2016 amendment to the PPPA, which became effective on July 31, 2016,
does not apply retroactively to claims that accrued prior to its July 31, 2016 effective
date. See Boelter v. Hearst Commc’ns, Inc., 192 F. Supp. 3d 427, 439-41 (S.D.N.Y.
2016) (holding that “the amendment to the [PP]PA does not apply to Plaintiffs’
claims, and the Court will assess the sufficiency of those claims under the law as it
was when Plaintiffs’ claims accrued.”) (citing Landgraf v. USI Film Prods., 511 U.S.
224, 286 (1994)). Because the claims alleged herein accrued, and thus vested, prior
to the July 31, 2016 effective date of the amended version of the PPPA, the pre-
amendment version of the PPPA applies in this case. See Horton v. GameStop,
Corp., -- F. Supp. 3d --, 2018 WL 8335635, at *2-3 (W.D. Mich. Sept. 28, 2018).
                                           2
See Exhibit A hereto.

      3.     By renting, exchanging, or otherwise disclosing the Private Reading,

Listening, and Viewing Information of its Michigan-based customers during the

relevant pre-July 30, 2016 time period, Christianbook violated the PPPA.

Subsection 2 of the PPPA provides:

            [A] person, or an employee or agent of the person,
            engaged in the business of selling at retail, renting, or
            lending books or other written materials ... shall not
            disclose to any person, other than the customer, a record
            or information concerning the purchase ... of those
            materials by a customer that indicates the identity of the
            customer.


                                        3
PPPA § 2.

      4.      Accordingly, Plaintiff brings this Class Action Complaint against

Christianbook for its intentional and unlawful disclosure of its customers’ Private

Reading, Listening, and Viewing Information in violation of the PPPA.

                            NATURE OF THE CASE

      5.      To supplement its revenues, Christianbook rents, exchanges, or

otherwise discloses its customers’ information—including their full names, the titles

of written materials, sound recordings, or video recordings purchased, and home

addresses (collectively “Private Reading, Listening, and Viewing Information”), as

well as myriad other categories of individualized data and demographic information

such as age, gender, ethnicity, and religion—to data aggregators, data appenders,

data cooperatives, and other third parties without the written consent of its

customers.

      6.      By renting, exchanging, or otherwise disclosing – rather than selling –

its customers’ Private Reading, Listening, and Viewing Information, Christianbook

is able to disclose the information time and time again to countless third parties.

      7.      Christianbook’s disclosure of Private Reading, Listening, and

Viewing Information and other individualized information is not only unlawful, but

also dangerous because it allows for the targeting of particularly vulnerable members

of society.


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      8.      While Christianbook profits handsomely from the unauthorized rental,

exchange, and/or disclosure of its customers’ Private Reading, Listening, and

Viewing Information and other individualized information, it does so at the expense

of its customers’ statutory privacy rights (afforded by the PPPA) because

Christianbook does not obtain its customers’ written consent prior to disclosing their

Private Reading, Listening, and Viewing Information.

                                     PARTIES

       9.     Plaintiff Timothy Bozung is a natural person and citizen of the State

of Michigan and resides in Hudsonville, Michigan. Plaintiff was a purchaser of The

Drop Box video, including during the relevant pre-July 30, 2016 time period. The

Drop Box video is sold by Christianbook. While residing in, a citizen of, and present

in Michigan, Plaintiff purchased The Drop Box video directly from Christianbook.

Prior to and at the time Plaintiff purchased The Drop Box, Christianbook did not

notify Plaintiff that it discloses the Private Reading, Listening, and Viewing

Information of its customers, and Plaintiff has never authorized Christianbook to do

so. Furthermore, Plaintiff was never provided any written notice that Christianbook

rents, exchanges, or otherwise discloses its customers’ Private Reading, Listening,

and Viewing Information, or any means of opting out. Since purchasing The Drop

Box, and during the relevant pre-July 30, 2016 time period, Christianbook disclosed,

without the requisite consent or prior notice, Plaintiff’s Private Reading, Listening,


                                          5
and Viewing Information to data aggregators, data appenders, and/or data

cooperatives, who then supplement that information with data from their own files.

Moreover, during that same period, Christianbook rented or exchanged mailing lists

containing Plaintiff’s Private Reading, Listening, and Viewing Information to third

parties seeking to contact Christianbook customers, without first obtaining the

requisite written consent from Plaintiff or even giving him prior notice of the rentals,

exchanges, and/or other disclosures.

       10.    Defendant Christianbook, LLC is a Delaware corporation with its

headquarters and principal place of business in Peabody, Massachusetts.

Christianbook does business throughout Michigan and the entire United States.

Christianbook is the seller of various book titles such as the Bible, as well as various

video titles such as The Drop Box.

                          JURISDICTION AND VENUE

      11.     This Court has subject matter jurisdiction over this civil action

pursuant to 28 U.S.C. § 1332(d) because there are more than 100 class members and

the aggregate amount in controversy exceeds $5,000,000, exclusive of interest, fees,

and costs, and at least one Class member is a citizen of a state different from

Defendant.

      12.     The Court has personal jurisdiction over Christianbook because

Plaintiff’s claims arose in substantial part from actions and omissions in Michigan,


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including from Plaintiff’s purchase of The Drop Box in Michigan, Christianbook’s

direction of such The Drop Box video into Michigan, and Christianbook’s failure to

obtain Plaintiff’s written consent in Michigan prior to disclosing his Private Reading,

Listening, and Viewing Information, including his residential address in Michigan,

to another person, the effects of which were felt from within Michigan by a citizen

and resident of Michigan. Personal jurisdiction also exists over Christianbook in

Michigan because Christianbook conducts substantial business within Michigan,

such that Christianbook has significant, continuous, and pervasive contacts with the

State of Michigan.

      13.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 because

Plaintiff resides in this judicial District, Christianbook does substantial business in

this judicial District, and a substantial part of the events giving rise to Plaintiff’s

claims took place within this judicial District.

                           FACTUAL BACKGROUND

                 Michigan’s Preservation of Personal Privacy Act

      14.     In 1988, members of the United States Senate warned that records of

consumers’ purchases and rentals of written materials, sound recordings, and video

recordings offer “a window into our loves, likes, and dislikes,” and that “the trail of

information generated by every transaction that is now recorded and stored in

sophisticated record-keeping systems is a new, more subtle and pervasive form of


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surveillance.” S. Rep. No. 100-599 at 7–8 (1988) (statements of Sens. Simon and

Leahy, respectively).

      15.    Recognizing the need to further protect its citizens’ privacy rights,

Michigan’s legislature enacted the PPPA to protect “privacy with respect to the

purchase, rental, or borrowing of certain materials,” by prohibiting companies from

disclosing certain types of sensitive consumer information. H.B. No. 5331, 1988

Mich. Legis. Serv. 378 (West).

      16.    Subsection 2 of the PPPA states:

            [A] person, or an employee or agent of the person,
            engaged in the business of selling at retail, renting, or
            lending books or other written materials, sound
            recordings, or video recordings shall not disclose to any
            person, other than the customer, a record or information
            concerning the purchase . . . of those materials by a
            customer that indicates the identity of the customer.

PPPA § 2 (emphasis added).

      17.    Michigan’s protection of reading and audiovisual information reflects

the “gut feeling that people ought to be able to read books and watch films without

the whole world knowing,” and recognizes that “[b]ooks and films are the

intellectual vitamins that fuel the growth of individual thought. The whole process

of intellectual growth is one of privacy—of quiet, and reflection. This intimate

process should be protected from the disruptive intrusion of a roving eye.” S. Rep.

No. 100–599, at 6 (Statement of Rep. McCandless).

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      18.     As Senator Patrick Leahy recognized in proposing the Video and

Library Privacy Protection Act (later codified as the Video Privacy Protection Act,

18 U.S.C. § 2710), “[i]n practical terms our right to privacy protects the choice of

movies that we watch with our family in our own homes. And it protects the

selection of books that we choose to read.” 134 Cong. Rec. S5399 (May 10, 1988).

      19.     Senator Leahy also explained why choices in movies and reading

materials are so private: “These activities . . . reveal our likes and dislikes, our

interests and our whims. They say a great deal about our dreams and ambitions, our

fears and our hopes. They reflect our individuality, and they describe us as people.”

Id.

      20.     Michigan’s passage of the PPPA also established as a matter of law

“that a person’s choice in reading, music, and video entertainment is a private matter,

and not a fit subject for consideration by gossipy publications, employers, clubs, or

anyone else for that matter.”      Privacy: Sales, Rentals of Videos, etc., House

Legislative Analysis Section, H.B. No. 5331, Jan. 20, 1989 (attached hereto as

Exhibit B).

      21.     Despite the fact that thousands of Michigan residents have purchased

Christianbook’s written materials and video recordings, Christianbook disregarded

its legal responsibility by systematically violating the PPPA.



                                          9
                       The Private Information Market:
                 Consumers’ Private Information Has Real Value

      22.     In 2001, Federal Trade Commission (“FTC”) Commissioner Orson

Swindle remarked that “the digital revolution . . . has given an enormous capacity

to the acts of collecting and transmitting and flowing of information, unlike anything

we’ve ever seen in our lifetimes . . . [and] individuals are concerned about being

defined by the existing data on themselves.”3

      23.     More than a decade later, Commissioner Swindle’s comments ring

truer than ever, as consumer data feeds an information marketplace that supports a

$26 billion dollar per year online advertising industry in the United States.4

      24.     The FTC has also recognized that consumer data possesses inherent

monetary value within the new information marketplace and publicly stated that:

             Most consumers cannot begin to comprehend the types
             and amount of information collected by businesses, or why
             their information may be commercially valuable. Data is
             currency. The larger the data set, the greater potential for



3
       Exhibit C, The Information Marketplace: Merging and Exchanging
Consumer Data (Mar. 13, 2001), at 8:15-11:16, available at
https://www.ftc.gov/sites/default/files/documents/public_events/information-
marketplace-merging-and-exchanging-consumer-data/transcript.pdf (last visited
July 30, 2021).
4
        See Exhibit D, Web’s Hot New Commodity: Privacy, WSJ (Feb. 28, 2011),
http://online.wsj.com/article/SB10001424052748703529004576160764037920274
.html (last visited July 30, 2021).

                                          10
             analysis—and profit.5

      25.     In fact, an entire industry exists while companies known as data

aggregators purchase, trade, and collect massive databases of information about

consumers. Data aggregators then profit by selling this “extraordinarily intrusive”

information in an open and largely unregulated market.6

      26.     The scope of data aggregators’ knowledge about consumers is

immense: “If you are an American adult, the odds are that [they] know[] things like

your age, race, sex, weight, height, marital status, education level, politics, buying

habits, household health worries, vacation dreams—and on and on.”7

      27.     Further, “[a]s use of the Internet has grown, the data broker industry

has already evolved to take advantage of the increasingly specific pieces of




5
        Exhibit E, Statement of FTC Commissioner Pamela Jones Harbour (Dec. 7,
2009),                at                 2,             available                at
https://www.ftc.gov/sites/default/files/documents/public_statements/remarks-ftc-
exploring-privacy-roundtable/091207privacyroundtable.pdf (last visited July 30,
2021) (emphasis added).
6
     See Exhibit F, Martha C. White, Big Data Knows What You’re Doing Right
Now, TIME.com (July 31, 2012), http://moneyland.time.com/2012/07/31/big-data-
knows-what-youre-doing-right-now/ (last visited July 30, 2021).
7
       Exhibit G, Natasha Singer, You for Sale: Mapping, and Sharing, the
Consumer Genome, N.Y. Times (June 16, 2012), available at
https://www.immagic.com/eLibrary/ARCHIVES/GENERAL/GENPRESS/N12061
6S.pdf (last visited July 30, 2021).

                                         11
information about consumers that are now available.”8

      28.      Recognizing the serious threat the data mining industry poses to

consumers’ privacy, on July 25, 2012, the co-Chairmen of the Congressional Bi-

Partisan Privacy Caucus sent a letter to nine major data brokerage companies

seeking information on how those companies collect, store, and sell their massive

collections of consumer data.9

      29.      In their letter, the co-Chairmen recognized that “[b]y combining data

from numerous offline and online sources, data brokers have developed hidden

dossiers on every U.S. consumer,” which “raises a number of serious privacy

concerns.”10

      30.      Data aggregation is especially troublesome when consumer

information is sold to direct-mail advertisers. In addition to causing waste and




8
       Exhibit H, Letter from Senator John D. Rockefeller IV, Chairman, Senate
Committee on Commerce, Science, and Transportation, to Scott E. Howe, Chief
Executive      Officer,    Acxiom     (Oct.     9,   2012)     available    at
http://www.commerce.senate.gov/public/?a=Files.Serve&File_id=3bb94703-5ac8-
4157-a97b-a658c3c3061c (last visited July 30, 2021).
9
        See Exhibit I, Bipartisan Group of Lawmakers Query Data Brokers About
Practices Involving Consumers’ Personal Information, Website of Senator Ed
Markey      (July     24,     2012),   http://www.markey.senate.gov/news/press-
releases/bipartisan-group-of-lawmakers-query-data-brokers-about-practices-
involving-consumers-personal-information (last visited July 30, 2021).
10
       Id.

                                         12
inconvenience, direct-mail advertisers often use consumer information to lure

unsuspecting consumers into various scams,11 including fraudulent sweepstakes,

charities, and buying clubs.     Thus, when companies like Christianbook share

information with data aggregators, data cooperatives, and direct-mail advertisers,

they contribute to the “[v]ast databases” of consumer data that are often “sold to

thieves by large publicly traded companies,” which “put[s] almost anyone within

the reach of fraudulent telemarketers” and other criminals.12

      31.     Information disclosures like those made by Christianbook are

particularly dangerous to the elderly. “Older Americans are perfect telemarketing

customers, analysts say, because they are often at home, rely on delivery services,

and are lonely for the companionship that telephone callers provide.”13 The FTC

notes that “[t]he elderly often are the deliberate targets of fraudulent telemarketers

who take advantage of the fact that many older people have cash reserves or other




11
      See  Exhibit    J,    Prize     Scams,    Federal    Trade      Commission,
http://www.consumer.ftc.gov/articles/0199-prize-scams (last visited July 30, 2021).

12
       Exhibit K, Charles Duhigg, Bilking the Elderly, With a Corporate Assist,
N.Y.        Times,        May        20,        2007,        available      at
http://www.nytimes.com/2007/05/20/business/20tele.html (last visited July 30,
2021).

13
      Id.

                                         13
assets to spend on seemingly attractive offers.”14 Indeed, an entire black market

exists where the private information of vulnerable elderly Americans is exchanged.

      32.       Thus, information disclosures like Christianbook’s are particularly

troublesome because of their cascading nature: “Once marked as receptive to [a

specific] type of spam, a consumer is often bombarded with similar fraudulent offers

from a host of scam artists.”15

      33.       Christianbook is not alone in jeopardizing its customers’ privacy and

well-being in exchange for increased revenue: disclosing customer’s purchase

information to data aggregators, data appenders, data cooperatives, direct marketers,

and other third parties is a widespread practice in the publishing industry and other

direct-to-consumer industries.

      34.       Thus, as consumer data has become an ever-more valuable

commodity, the data mining industry has experienced rapid and massive growth.

Unfortunately for consumers, this growth has come at the expense of their most

basic privacy rights.



14
       Exhibit L, Fraud Against Seniors: Hearing before the Senate Special
Committee on Aging (August 10, 2000) (prepared statement of the FTC), available
at https://www.ftc.gov/sites/default/files/documents/public_statements/prepared-
statement-federal-trade-commission-fraud-against-seniors/agingtestimony.pdf (last
visited July 30, 2021).
15
      See id.

                                          14
             Consumers Place Monetary Value on their Privacy and
              Consider Privacy Practices When Making Purchases

      35.     As the data aggregation and cooperative industry has grown, so too

have consumer concerns regarding the privacy of their information.

      36.     A recent survey conducted by Harris Interactive on behalf of

TRUSTe, Inc. showed that 89 percent of consumers polled avoid doing business

with companies who they believe do not protect their privacy online.16 As a result,

81 percent of smartphone users polled said that they avoid using smartphone apps

that they don’t believe protect their privacy online.17

      37.     Thus, as consumer privacy concerns grow, consumers are increasingly

incorporating privacy concerns and values into their purchasing decisions and

companies viewed as having weaker privacy protections are forced to offer greater

value elsewhere (through better quality and/or lower prices) than their privacy-

protective competitors.

      38.     In fact, consumers’ private information has become such a valuable



16
      See Exhibit M, 2014 TRUSTe US Consumer Confidence Privacy Report,
TRUSTe,                                      http://www.theagitator.net/wp-
content/uploads/012714_ConsumerConfidenceReport_US1.pdf (last visited July
30, 2021).
17
      Id.

                                          15
commodity that companies are beginning to offer individuals the opportunity to sell

their information themselves.18

      39.      These companies’ business models capitalize on a fundamental tenet

underlying the consumer information marketplace:         consumers recognize the

economic value of their private data. Research shows that consumers are willing to

pay a premium to purchase services from companies that adhere to more stringent

policies of protecting their data.19

      40.      Thus, in today’s economy, individuals and businesses alike place a

real, quantifiable value on consumer data and corresponding privacy rights.20




18
       See Exhibit N, Joshua Brustein, Start-Ups Seek to Help Users Put a Price on
Their Personal Data, N.Y. Times (Feb. 12, 2012), available at
http://www.nytimes.com/2012/02/13/technology/start-ups-aim-to-help-users-put-a-
price-on-their-personal-data.html (last visited July 30, 2021).

19
        See Exhibit O, Tsai, Cranor, Acquisti, and Egelman, The Effect of Online
Privacy Information on Purchasing Behavior, 22(2) Information Systems Research
254, 254 (2011); see also European Network and Information Security Agency,
Study      on    monetising    privacy     (Feb.     27,     2012),    available at
https://www.enisa.europa.eu/activities/identity-and-
trust/library/deliverables/monetising-privacy (last visited July 30, 2021).

20
       See Exhibit P, Hann, et al., The Value of Online Information Privacy: An
Empirical       Investigation     (Oct.     2003)       at     2,    available    at
http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.321.6125&rep=rep1&ty
pe=pdf (last visited July 30, 2021) (“The real policy issue is not whether consumers
value online privacy. It is obvious that people value online privacy.”).
                                        16
  Christianbook Unlawfully Rents, Exchanges, And Discloses Its Customers’
            Private Reading, Listening, and Viewing Information

      41.     Christianbook maintains a vast digital database comprised of its

customers’ Private Reading, Listening, and Viewing Information. Christianbook

discloses its customers’ Private Reading, Listening, and Viewing Information to

data aggregators and appenders, who then supplement that information with

additional sensitive private information about each Christianbook customer,

including his or her age, gender, ethnicity, and religion. (See, e.g., Exhibit A).

      42.     Christianbook then rents and/or exchanges its mailing lists—which

include its customers’ Private Reading, Listening, and Viewing Information

identifying which individuals purchased particular written materials and particular

audiovisual materials, and can include the sensitive information obtained from data

aggregators and appenders—to other data aggregators and appenders, other

consumer-facing businesses, non-profit organizations seeking to raise awareness

and solicit donations, and to political organizations soliciting donations, votes, and

volunteer efforts. (See Exhibit A).

      43.     Christianbook also discloses its customers’ Private Reading,

Listening, and Viewing Information to data cooperatives, who in turn give

Christianbook access to their own mailing list databases.

      44.     As a result of Christianbook’s data compiling and sharing practices,

companies can purchase and/or obtain mailing lists from Christianbook that identify

                                          17
Christianbook’s customers by their most intimate details such as their age, gender,

ethnicity, and religion. Christianbook’s disclosures of such sensitive and private

information puts consumers, especially the more vulnerable members of society, at

risk of serious harm from scammers.

      45.     Christianbook does not seek its customers’ prior consent, written or

otherwise, to any of these disclosures and its customers remain unaware that their

Private Reading, Listening, and Viewing Information and other sensitive

information is being rented and exchanged on the open market.

      46.     Consumers can purchase Christianbook’s written and audiovisual

materials through numerous media outlets, including the Internet, telephone, or

traditional mail. Regardless of how the consumer makes a purchase, Christianbook

never required the individual to read or affirmatively agree to any terms of service,

privacy policy, or information-sharing policy during the relevant pre-July 31, 2016

time period. Consequently, during the relevant pre-July 31, 2016 time period,

Christianbook uniformly failed to obtain any form of consent from – or even provide

effective notice to – its customers before disclosing their Private Reading, Listening,

and Viewing Information.

      47.     As a result, Christianbook disclosed its customers’ Private Reading,

Listening, and Viewing Information – including their reading, listening, and viewing

habits and preferences that can “reveal intimate facts about our lives, from our

                                          18
political and religious beliefs to our health concerns”21 – to anybody willing to pay

for it.

          48.    By and through these actions, Christianbook has intentionally

disclosed to third parties its Michigan customers’ Private Reading, Listening, and

Viewing Information without consent, in direct violation of the PPPA.

                          CLASS ACTION ALLEGATIONS

          49.   Plaintiff seeks to represent a class defined as all Michigan residents

who, at any point during the relevant pre-July 30, 2016 time period, had their Private

Reading, Listening, and Viewing Information disclosed to third parties by

Christianbook without consent (the “Class”). Excluded from the Class is any entity

in which Defendant has a controlling interest, and officers or directors of Defendant.

          50.   Members of the Class are so numerous that their individual joinder

herein is impracticable. On information and belief, members of the Class number in

the thousands. The precise number of Class members and their identities are

unknown to Plaintiff at this time but may be determined through discovery. Class

members may be notified of the pendency of this action by mail and/or publication

through the distribution records of Defendant.

          51.   Common questions of law and fact exist as to all Class members and


21
      Exhibit Q, California’s Reader Privacy Act Signed into Law, Electronic
Frontier Foundation (Oct. 3,
2011), https://www.eff.org/press/archives/2011/10/03 (last visited July 30, 2021).
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predominate over questions affecting only individual Class members. Common

legal and factual questions include, but are not limited to: (a) whether Christianbook

is a “retailer or distributor” of written materials or sound or video recordings; (b)

whether Christianbook obtained consent before disclosing to third parties Plaintiff’s

and the Class’s Private Reading, Listening, and Viewing Information; and (c)

whether Christianbook’s disclosure of Plaintiff’s and the Class’s Private Reading,

Listening, and Viewing Information violated the PPPA.

      52.    The claims of the named Plaintiff are typical of the claims of the Class

in that the named Plaintiff and the Class suffered invasions of their statutorily

protected right to privacy (as afforded by the PPPA) as a result of Defendant’s

uniform wrongful conduct, based upon Defendant’s disclosure of Plaintiff’s and the

Class’s Private Reading, Listening, and Viewing Information.

      53.    Plaintiff is an adequate representative of the Class because his interests

do not conflict with the interests of the Class members he seeks to represent, he has

retained competent counsel experienced in prosecuting class actions, and he intends

to prosecute this action vigorously. The interests of Class members will be fairly

and adequately protected by Plaintiff and his counsel.

      54.    The class mechanism is superior to other available means for the fair

and efficient adjudication of the claims of Class members. Each individual Class

member may lack the resources to undergo the burden and expense of individual

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prosecution of the complex and extensive litigation necessary to establish

Defendant’s liability. Individualized litigation increases the delay and expense to

all parties and multiplies the burden on the judicial system presented by the complex

legal and factual issues of this case. Individualized litigation also presents a potential

for inconsistent or contradictory judgments. In contrast, the class action device

presents far fewer management difficulties and provides the benefits of single

adjudication, economy of scale, and comprehensive supervision by a single court on

the issue of Defendant’s liability. Class treatment of the liability issues will ensure

that all claims and claimants are before this Court for consistent adjudication of the

liability issues.

                             CAUSE OF ACTION
          Violation of Michigan’s Preservation of Personal Privacy Act
                                   (PPPA § 2)

       55.    Plaintiff repeats the allegations contained in the foregoing paragraphs

as if fully set forth herein.

       56.    Plaintiff brings this claim individually and on behalf of members of the

Class against Defendant Christianbook.

       57.    As a company that sells written materials and sound and video

recordings directly to consumers, Christianbook is engaged in the business of selling

written materials, sound recordings, or video recordings at retail. See PPPA § 2.

       58.    By purchasing The Drop Box video and other videos, Plaintiff


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purchased video recording directly from Christianbook. See PPPA § 2.

      59.    Because Plaintiff purchased a video recording directly from

Christianbook, he is a “customer” within the meaning of the PPPA. See PPPA § 1.

      60.    At various times during the pre-July 30, 2016 time period,

Christianbook disclosed Plaintiff’s Private Reading, Listening, and Viewing

Information, which identified him as a purchaser of The Drop Box video and other

video recording titles, in at least three ways.

      61.    First, Christianbook disclosed mailing lists containing Plaintiff’s

Private Reading, Listening, and Viewing Information to data aggregators and data

appenders, who then supplemented the mailing lists with additional sensitive

information from their own databases, before sending the mailing lists back to

Christianbook.

      62.    Second, Christianbook disclosed mailing lists containing Plaintiff’s

Private Reading, Listening, and Viewing Information to data cooperatives, who in

turn gave Christianbook access to their own mailing list databases.

      63.    Third, Christianbook rented and/or exchanged its mailing lists

containing Plaintiff’s Private Reading, Listening, and Viewing Information—

enhanced with additional information from data aggregators and appenders—to third

parties, including other consumer-facing companies, direct-mail advertisers, and

organizations soliciting monetary contributions, volunteer work, and votes.

                                           22
      64.    Because the mailing lists included the additional information from the

data aggregators and appenders, the lists were more valuable, and Christianbook was

able to increase its profits gained from the mailing list rentals and/or exchanges.

      65.    By renting, exchanging, or otherwise disclosing its customer lists,

during the relevant pre-July 30, 2016 time period, Christianbook disclosed to

persons other than Plaintiff records or information concerning his purchase of video

recordings from Christianbook. See PPPA § 2.

      66.    The information Christianbook disclosed indicates Plaintiff’s name and

address, as well as the fact that he purchased The Drop Box. Accordingly, the

records or information disclosed by Christianbook indicated Plaintiff’s identity. See

PPPA § 2.

      67.    Plaintiff and the members of the Class never consented to

Christianbook disclosing their Private Reading, Listening, and Viewing Information

to anyone.

      68.    Worse yet, Plaintiff and the members of the Class did not receive notice

before Christianbook disclosed their Private Reading, Listening, and Viewing

Information to third parties.

      69.    Christianbook’s disclosures of Plaintiff’s and the Class’s Private

Reading, Listening, and Viewing Information during the relevant pre-July 30, 2016

time period were not made pursuant to a court order, search warrant, or grand jury

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subpoena.

      70.    Christianbook’s disclosures of Plaintiff’s and the Class’s Private

Reading, Listening, and Viewing Information during the relevant pre-July 30, 2016

time period were not made to collect payment for their purchases.

      71.    Christianbook’s disclosures of Plaintiff’s Private Reading, Listening,

and Viewing Information during the relevant pre-July 30, 2016 time period were

made to data aggregators, data appenders, data cooperatives, direct-mail advertisers,

and organizations soliciting monetary contributions, volunteer work, and votes—all

in order to increase Christianbook’s revenue.         Accordingly, Christianbook’s

disclosures were not made for the exclusive purpose of marketing goods and services

directly to Plaintiff and the members of the Class.

      72.    By disclosing Plaintiff’s and the Class’s Private Reading, Listening,

and Viewing Information during the relevant pre-July 30, 2016 time period,

Christianbook violated Plaintiff’s and the Class’s statutorily protected right to

privacy in their reading habits. See PPPA § 2.

      73.    As a result of Christianbook’s unlawful disclosure of their Private

Reading, Listening, and Viewing Information, Plaintiff and the members of the Class

have suffered invasions of their statutorily protected right to privacy (afforded by

the PPPA). On behalf of himself and the Class, Plaintiff seeks: (1) $5,000.00 per

Class member pursuant to PPPA § 5(a); and (2) costs and reasonable attorneys’ fees

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pursuant to PPPA § 5(b).

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, individually and on behalf of all others similarly

situated, seeks a judgment against Defendant as follows:

             A.     For an order certifying the Class under Rule 23 of the
                    Federal Rules of Civil Procedure and naming Plaintiff as
                    representative of the Class and Plaintiff’s attorneys as Class
                    Counsel to represent the Class;

             B.     For an order declaring that Defendant’s conduct as
                    described herein violated the Preservation of Personal
                    Privacy Act, PPPA;

             C.     For an order finding in favor of Plaintiff and the Class on
                    all counts asserted herein;

             D.     For an award of $5,000 to Plaintiff and each Class member,
                    as provided by the Preservation of Personal Privacy Act,
                    PPPA § 5(a);

             E.     For prejudgment interest on all amounts awarded; and

             F.     For an order awarding Plaintiff and the Class their
                    reasonable attorneys’ fees and expenses and costs of suit.

                                 JURY DEMAND

      Plaintiff demands a trial by jury on all causes of action and issues so triable.




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Dated: March 31, 2022   Respectfully submitted,

                        TIMOTHY BOZUNG,

                        /s/ Frank S. Hedin

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